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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF CALIFORNIA


                                     MEMORANDUM



Honorable Morrison C. England Jr.
Chief United States District Judge
Sacramento, California

                                              RE: Baljinder Dhanoa
                                                  Docket Number: 0972 2:13CR00275-003
                                                  PERMISSION TO TRAVEL
                                                  OUTSIDE THE COUNTRY

Your Honor:


Baljinder Dhanoa is requesting permission to travel to Vancouver, Canada. Baljinder Dhanoa
is current with all supervision obligations, and the probation officer recommends approval be
granted.


Conviction and Sentencing Date: On December 11, 2014, Baljinder Dhanoa was sentenced
for the offense(s) of 18 USC 1341 – Mail Fraud.


Sentence Imposed:       36 months Probation; No firearms; DNA collection; $100 Special
Assessment; $102,916 Restitution.


Dates and Mode of Travel: Upon the Court’s approval. Mode of travel is unknown at this
time.


Purpose: Mr. Dhanoa wishes to pay respects to a terminally-ill family member who has been
given 24 hours to live. She requests a travel pass for one week so that she may be present for the
funeral as well.




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                                                                                                 REV. 06/2015
                                                                  TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Baljinder Dhanoa
         Docket Number: 0972 2:13CR00275-003
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                    Respectfully submitted,


                                     /s/ Garey R. White
                                       Garey R. White
                               United States Probation Officer


Dated:    December 8, 2015
          Sacramento, California
          GRW/sg

                             /s/ Glenn P. Simon for
 REVIEWED BY:              George A. Vidales
                           Supervising United States Probation Officer




                                ORDER OF THE COURT

          ☒     Approved        ☐      Disapproved


 December 8, 2015

 Date                                       Morrison C. England Jr.
                                            Chief United States District Judge




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                                                                                                REV. 06/2015
                                                                 TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
